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 1   RICHARD S.J. HUNG (CA SBN 197425)
     rhung@mofo.com
 2   JONATHAN M. MORRIS (CA SBN 356152)
     jonathanmorris@mofo.com
 3   HOLLY M. PETERSEN (CA SBN 351588)
     hollypetersen@mofo.com
 4   MORRISON & FOERSTER LLP
     425 Market Street
 5   San Francisco, California 94105-2482
     Telephone:    (415) 268-7000
 6   Facsimile:    (415) 268-7522
 7   BITA RAHEBI (CA SBN 209351)
     brahebi@mofo.com
 8   RYAN J. MALLOY (CA SBN 253512)
     rmalloy@mofo.com
 9   MORRISON & FOERSTER LLP
     707 Wilshire Boulevard
10   Los Angeles, California 90017
     Telephone:    (213) 892-5200
11   Facsimile:    (213) 892-5454
12   Attorneys for Plaintiff
     FIGMA, INC.
13

14                                   UNITED STATES DISTRICT COURT

15                              NORTHERN DISTRICT OF CALIFORNIA

16                                      SAN FRANCISCO DIVISION

17

18   FIGMA, INC.,                                         Case No. 3:24-cv-06507-JD

19                      Plaintiff,                        FIGMA’S OPPOSITION TO
                                                          DEFENDANTS’ REQUEST TO
20          v.                                            CONSIDER DECLARATIONS

21   MOTIFF PTE. LTD., YUANFUDAO HK
     LTD., and KANYUN HOLDINGS GROUP                      Date: May 1, 2025
22   CO. LTD.,                                            Time: 10:00 a.m.
                                                          Courtroom: 11, 19th Floor
23                      Defendants.                       Judge: Hon. James Donato

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 1                                   TABLE OF ABBREVIATIONS
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                           Phrase                                          Abbreviation
 3
      Defendants’ Request to Consider Declarations        “Mot.”
 4    Responsive to New Developments in the Case
      (Dkt. No. 87)
 5
      Figma’s Preliminary Injunction Motion               “PI Mot.”
 6    (Dkt. No. 28)
 7
      Defendants’ Opposition to Plaintiff’s Motion        “PI Opp.”
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      Declaration of Ryan Malloy in Support of            “Malloy Decl.”
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13    Consider Declarations, Dated April 29, 2025

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      Malloy, dated April 29, 2025
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      Supplemental Declaration of Douglas N. Ellis        “Ellis Supp. Decl.”
16    in Support of Defendants’ Opposition to
17    Plaintiff’s Motion for Preliminary Injunction,
      dated April 24, 2025
18    (Dkt. No. 91)

19    Supplemental Declaration of Yuchen (Ethan)          “E. Zhang Supp. Decl.”
      Zhang, dated April 23, 2025
20    (Dkt. No. 87-6)
21    Declaration of Karan Singh, Ph.D., in Support       “Singh Decl.”
22    of Figma’s Preliminary Injunction Motion,
      dated January 17, 2025 (Dkt. No. 28-11)
23
      Reply Declaration of Karan Singh, Ph.D., dated      “Singh III Decl.”
24    April 18, 2025 (Dkt. No. 83-2)
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 1   I.       INTRODUCTION
 2            Defendants’ “request to consider declarations responsive to new developments in the
 3   case” is in fact a request to raise new arguments and retract damning deposition testimony. 1
 4   Defendants make four separate requests, each without merit. Defendants’ request to raise new
 5   arguments about Figma’s copyright registrations is improper because it is based on law and facts
 6   that existed when Defendants filed their PI Opposition. Defendants’ request to respond to
 7   “inaccurate presentation[s]” of their deponents’ testimony is improper because Defendants should
 8   have sought “accurate presentations” during redirect examinations. Defendants’ request to
 9   submit new testimony addressing Dr. Singh’s Reply Declaration is improper because his
10   declaration merely responds to Defendants’ Opposition arguments. Defendants’ request for
11   additional discovery regarding Figma’s submission of a confidential draft registration statement
12   to the SEC is just a delay tactic, as Figma has already provided Defendants with all such
13   documents referencing Defendants or this action. The Court should deny all of Defendants’
14   requests.
15   II.      DEFENDANTS’ REQUEST SHOULD BE DENIED
16            A.     Defendants’ New Arguments and Declaration Regarding Figma’s Copyright
                     Registrations Are Improper.
17

18            In their PI Opposition, Defendants wrongly argued that Figma’s copyright registrations

19   cover only three versions of Figma’s source code because they refer to “new and revised code.”

20   (PI Opp. 3, 5-6.) On reply, Figma explained that Defendants were mistaken on the law and that

21   Figma’s copyright registrations cover both new and preexisting versions of the code. (PI Reply

22   2.) Defendants now ask the Court to consider a new theory that Figma’s prior source code

23   1
              Defendants’ request is procedurally deficient. If they intended it as an “Objection to
24   Reply Evidence” under Civil L.R. 7-3(d)(1), the request is untimely. Such an objection must be
     “filed and served not more than 7 days after the reply was filed.” Civil L.R. 7-3(d)(1). Figma
25   filed its reply brief on April 17, 2025. Defendants completed their filing the morning of April 25.
     (See Dkt. Nos. 88-91.) And they did not serve their papers—many of which were sealed or
26   redacted—until the afternoon, after Figma reached out to request service. (See Dkt. No. 93.)

27           If Defendants instead intended to bring their “request” as a “motion for administrative
     relief” under Civil L.R. 7-11(a), their request is unaccompanied by a stipulation under Civil
28   L.R. 7-12 or a declaration explaining why a stipulation could not be obtained. Civil L.R. 7-11(a).
     Defendants never reached out to Figma for such a stipulation.
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 1   versions were “published” and thus not covered by Figma’s registrations.
 2          Defendants’ request is improper because it is not based on any new fact or law. As Figma
 3   explained—and Defendants do not dispute—copyright registrations for code cover all prior
 4   versions not registered or publicly distributed. (PI Reply 2.) This was the law well before
 5   Defendants filed their PI Opposition. As Defendants’ new argument is not based on newly
 6   discovered evidence of purported publication, the Court should reject it.
 7          Defendants’ argument is also substantively meritless, as it is based on a misinterpretation
 8   of “publication.” Defendants are wrong that Figma “published” prior versions of its source code
 9   by making them available for use. (Mot. 3-4.) “[P]ublication occurs—via the internet or
10   otherwise—only when the author offers to sell or clearly authorizes reproduction and distribution
11   of its work.” TeamLab Inc. v. Museum of Dream Space, LLC, 650 F. Supp. 3d 934, 947 (C.D.
12   Cal. 2023). Here, Figma’s MSA expressly states that Figma retains ownership of the Figma
13   Platform and prohibits customers from, e.g., permitting third parties to “rent, lease, or otherwise
14   permit third parties to use the Figma Platform.” (Dkt. No. 1-1, §§ 3, 5.) Thus, Figma did not
15   publish the source code. TeamLab, 650 F. Supp. 3d at 946 (rejecting “broad theory of
16   publication” in Getaped.com, Inc. v. Cangemi, 188 F. Supp. 2d 398 (S.D.N.Y. 2002)).
17          Furthermore, Defendants contest only registration—not ownership—of the copyright in
18   the earlier code versions. (Dkt. No. 87 at 3-4.) Courts have repeatedly held that “registration of
19   the subsequent” derivative work (here, later versions of Figma’s code) is sufficient to “maintain
20   an infringement action for the original copyright” (here, earlier versions of Figma’s code). Atari
21   Interactive, Inc. v. Redbubble, Inc., 515 F.Supp.3d 1089, 1111 (N.D. Cal. 2021); see also
22   Brocade Commn’s Sys., Inc. v. A10 Networks, Inc., No. 10-cv-3428, 2013 WL 831528, at *4-5
23   (N.D. Cal. Jan 10, 2013) (citations omitted). Moreover, Figma could at any time, as a matter of
24   course, obtain separate registrations for earlier source code versions. See 17 U.S.C. § 408(a) (“At
25   any time . . . during the subsistence of any copyright secured on or after January 1, 1978, the
26   owner of copyright or of any exclusive right in the work may obtain registration of the copyright
27   claim.”). Thus, the registration issue has no impact on Figma’s likelihood of success on the
28   merits in this action. Cf. VHT, Inc. v. Zillow Grp., Inc., 69 F.4th 983, 987 (9th Cir. 2023)
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 1   (excusing non-compliance with registration requirement where plaintiff subsequently obtained
 2   registrations).
 3           B.        Defendants’ New Declarations to Address Their Own Witnesses’ Deposition
                       Testimony Are Improper.
 4

 5           Defendants’ supplemental declarations to correct purportedly “inaccurate presentation[s]”

 6   of their witnesses’ deposition testimony are improper for two independent reasons. (Mot. 4-5.)

 7           First, if Defendants really thought that their witnesses’ testimony was inaccurate, the right

 8   time to have corrected that testimony would have been during the deposition itself, via re-direct.

 9   Having failed to do so, Defendants should not be allowed to avoid the rigors of cross-examination

10   by submitting new declarations that re-characterize prior testimony under oath.

11           Defendants’ request is particularly improper in view of their refusal to allow Figma to

12   re-depose unprepared witnesses remotely. Figma deposed Ethan Zhang in Hong Kong on

13   March 31 and April 1, 2025. As Mr. Zhang was not prepared to testify on his designated topics,

14   the parties agreed that he would sit for another deposition in Hong Kong on April 4, 2025.

15   Unfortunately, he needed to leave that deposition early. (Ex. 1 (Email Correspondence), at 2.)

16   To avoid the expense of another trip to Hong Kong, Figma asked that Mr. Zhang be made

17   available for a remote deposition. Defendants refused—yet now they seek to submit a declaration

18   for Mr. Zhang.

19           Second, Defendants’ new declarations do not merely “correct” prior testimony, but

20   address topics that the witnesses did not address in deposition. For example, Defendants ask to

21   submit a supplemental declaration for their expert, Douglass Ellis. His new declaration includes

22   new analysis of Motiff’s own user data that was available to him well before Defendants filed

23   their PI Opposition. (Ellis Supp. Decl. ¶ 8.) There is no reason why he could not have submitted

24   that analysis earlier. See Rodgers v. Chevys Restaurants, LLC, No. 13-cv-03923, 2015 WL

25   909763, at *5 (N.D. Cal. Feb. 24, 2015) (denying supplemental declaration that “attempt[ed] [to]

26   submit new facts in support of [a] surreply”). As another example, Ethan Zhang’s supplemental

27   declaration offers new testimony about shaders that is completely untethered to any purported

28   “inaccurate presentation” of his deposition testimony. (E. Zhang Supp. Decl. ¶¶ 19-22.)

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 1   Defendants’ requests to submit supplemental declarations should be denied for this reason. See
 2   Pickman v. Am. Exp. Co., No. 11-cv-5326, 2012 WL 1357636, at *4 (N.D. Cal. Apr. 17, 2012)
 3   (striking supplemental declaration submitted with objection to reply evidence because “the
 4   content of the declaration exceeds the scope of what is addressed in the objection”).
 5          C.      Defendants’ New Declarations Regarding Shader Code Are Improper.
 6          Defendants ask to submit new declarations based on the false assertion that Karan Singh’s
 7   Reply Declaration alleged copying of a previously undisclosed shader function. (Mot. 4.) The
 8   Court should reject this request because Dr. Singh’s Reply Declaration properly responded to
 9   arguments that Defendants and their expert, Dr. Plock, raised for the first time in their opposition.
10          In his opening declaration, Dr. Singh explained that similarities between Figma’s and
11   Motiff’s minified shader code indicated that Motiff copied expressive elements of Figma’s code.
12   (Singh Decl. ¶ 49.) At that time, Motiff had not produced any source code. Dr. Singh thus relied
13   on minified shader code that is visible to certain users. (Id. ¶ 42.) In its PI Opposition, Motiff
14   conceded that it copied code, but argued that many of the shader functions were open source or
15   otherwise not protectable expression. (PI Opp. 7-8.) In support of Figma’s reply, Dr. Singh then
16   identified an exemplary shader function that Motiff did not argue was open source and showed
17   that Motiff had copied expressive elements of Figma’s code. (Singh III Decl. ¶¶ 42-47.)
18          As Dr. Singh’s Reply Declaration simply confirmed his original opinion that Defendants
19   had copied expressive elements of Figma’s shader code, Defendants are not entitled to submit a
20   new declaration. Cf. Chang v. Cashman, No. 22-cv-02010, 2024 WL 4804976, at *2 (N.D. Cal.
21   Nov. 15, 2024) (denying objection to reply evidence and explaining that “[e]vidence submitted in
22   direct response to evidence raised in the preceding brief is not new” (cleaned up)).
23          D.      Defendants Do Not Need Additional Discovery
24          In a last-ditch effort to delay resolution of Figma’s motion, Defendants ask the Court to
25   order further discovery related to Figma’s submission of a confidential draft registration
26   statement with the SEC. (Mot. 5.) Defendants’ request hinges on the premise that
27   representations made to the SEC about customer projections and impact of the litigation “may
28   bear” on irreparable harm. (Ellis Supp. Decl. ¶ 9; see also Mot 5.) But Figma has already
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 1   provided Defendants with its diligence responses that concern Motiff and this litigation. (Malloy
 2   Decl. ¶ 3.) Moreover, Figma produced financials and a manager of strategic finance to address
 3   Figma’s projections. Figma has thus provided Defendants with the discovery that they purport to
 4   need.
 5   III.    CONCLUSION
 6           For these reasons, the Court should deny Defendants’ request to submit supplemental
 7   declarations.
 8

 9
     Dated: April 29, 2025                              MORRISON & FOERSTER LLP
10

11
                                                        By: /s/ Richard S.J. Hung
12                                                          Richard S.J. Hung
13                                                             Attorneys for Plaintiff
                                                               FIGMA, INC.
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